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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND
                             GREENBELT DIVISION


KILMAR ARMANDO ABREGO GARCIA,
et al.,

                       Plaintiffs,
         v.
                                               Case No. 8:25-cv-00951 (PX)
KRISTI NOEM, Secretary of the Department of
Homeland Security, et al.,

                       Defendants.



                       DEFENDANTS’ MOTION TO DISMISS
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                                       INTRODUCTION

       Plaintiff Abrego Garcia, a Salvadoran national removed to El Salvador, and his wife and

child have sued Defendants seeking declaratory and injunctive relief. Compl. ¶¶ 4–13, ECF No. 1;

id. at 21. Plaintiffs contend that Abrego Garcia was unlawfully removed to El Salvador despite a

grant of withholding from removal to that country. This Court should dismiss Plaintiffs’ claims

against Defendants for lack of subject-matter jurisdiction.

                                   STATEMENT OF FACTS

       For purposes of a motion to dismiss, the Complaint’s allegations are assumed to be true.

Plaintiff Abrego Garcia is a citizen and native of El Salvador; Plaintiffs Jennifer Vasquez Sura and

A.A.V. are his wife and child. Compl. ¶¶ 4–6, 42. Abrego Garcia violated United States law in

2011 by entering the country without inspection. Id. ¶ 22.

       In March 2019, Abrego Garcia was served a notice to appear in removal proceedings,

charging him as inadmissible as an “alien present in the United States without being admitted or

paroled, or who arrives in the United States at any time or place other than as designated by the

Attorney General.” Id. ¶¶ 25–29 (quoting 8 U.S.C. § 1182(a)(6)(A)(i)). On April 24, 2019, Abrego

Garcia appeared for his first hearing in immigration court and moved for release on bond pursuant

to 8 U.S.C. § 1226(a). Id. ¶ 30. During a bond hearing, U.S. Immigration and Customs

Enforcement (“ICE”) stated that local police had verified, through a confidential informant, that

Abrego Garcia was an active member of the criminal gang MS-13 and, thus, a danger to the

community. Id. ¶ 31. ICE provided a Gang Field Interview Sheet (“GFIS”) generated by the Prince

George County Police Department, which explained the rationale behind the belief that Abrego

Garcia was a gang member. Id. After review of the evidence, an immigration judge denied Abrego

Garcia’s bond request. See id. ¶¶ 34, 39. Abrego Garcia then filed an I-589 application for asylum,

withholding of removal, and protection under the United Nations Convention Against Torture. Id.

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¶ 35. Abrego Garcia’s individual hearing took place on August 9, 2019, and September 27, 2019.

Id. The immigration judge found Abrego Garcia removable but granted him withholding of

removal to El Salvador. Id. ¶ 41.

       On March 12, 2025, Abrego Garcia was stopped by ICE officers, who informed him that

his immigration status had changed. Id. ¶¶ 48–50. After being detained, he was questioned about

gang affiliations and transferred to a detention center in Texas. Id. ¶¶ 53, 56. Three days later,

Abrego Garcia told Vasquez Sura that he would be removed to El Salvador and detained at CECOT

prison. Id. ¶¶ 56–57 & n.1.

       On March 24, 2025, Plaintiffs filed a Complaint against Defendants, asserting claims for

violating Abrego Garcia’s withholding of removal under 8 U.S.C. § 1231(b)(3)(A); his Fifth

Amendment procedural due-process rights; and Abrego Garcia, Vasquez Sura, and A.A.V.’s Fifth

Amendment substantive due-process rights. Id. ¶¶ 73–77, 79–83, 85–89. Plaintiffs also assert that

Defendant’s actions were arbitrary, capricious, and an abuse of discretion and that “Abrego Garcia

is being held in custody by the Government of El Salvador . . . in violation of the Constitution or

laws or treaties of the United States.” Id. ¶¶ 90–95, 98.

                                      LEGAL STANDARD

       “A federal court is obliged to dismiss a case whenever it appears the court lacks subject

matter jurisdiction.” Lovern v. Edwards, 190 F.3d 648, 654 (4th Cir. 1999) (citing Fed. R. Civ. P.

12(h)(3); Goldsmith v. Mayor & City Council of Baltimore, 845 F.2d 61, 64 (4th Cir. 1988)).

“When faced with a motion to dismiss under Rule 12(b)(1) for lack of subject matter jurisdiction,

a court must first determine whether the defendant is alleging a lack of jurisdiction based on the

face of the Complaint or as a factual matter.” Arora v. Daniels, No. 3:17-CV-134, 2018 WL

1597705, at *3 (W.D.N.C. Apr. 2, 2018) (citing Kerns v. United States, 585 F.3d 187, 192 (4th



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Cir. 2009)). “[W]hen a defendant asserts that the complaint fails to allege sufficient facts to support

subject matter jurisdiction, the trial court must apply a standard patterned on Rule 12(b)(6) and

assume the truthfulness of the facts alleged.” Kerns, 585 F.3d at 192. But the Court need not

“assume that a plaintiff’s legal conclusions or arguments are also true.” Falwell v. City of

Lynchburg, Virginia, 198 F. Supp. 2d 765, 771–72 (W.D. Va. 2002) (citation omitted). “[W]hen

the defendant challenges the veracity of the facts underpinning subject matter jurisdiction,”

however, “the trial court may go beyond the complaint, conduct evidentiary proceedings, and

resolve the disputed jurisdictional facts.” Kerns, 585 F.3d at 192. Plaintiffs bear the burden of

proving that subject matter jurisdiction exists. Lovern, 190 F.3d at 654.

                                           ARGUMENT

        The Court must dismiss Plaintiffs’ claims against Defendants because, taking all factual

allegations in their Complaint as true, they fail to establish subject-matter jurisdiction. This Court

lacks jurisdiction because Abrego Garcia is not in United States custody, his injury is not

redressable by this Court, and 8 U.S.C. § 1292(g) deprives this Court of jurisdiction. These

arguments are not foreclosed by the prior rulings of the Supreme Court, Noem v. Abrego Garcia,

145 S. Ct. 1017, 1018 (2025), or the Fourth Circuit, Abrego Garcia v. Noem, No. 25-1404, 2025

WL 1135112, at *1 (4th Cir. Apr. 17, 2025), in connection with Defendants’ stay motions. Those

decisions do not “squarely address” these jurisdictional issues and therefore are not binding as to

whether Abrego Garcia’s claims are proper, his injury is redressable by this Court, or 8 U.S.C.

§ 1292(g) deprives this Court of jurisdiction. See Brecht v. Abrahamson, 507 U.S. 619, 631 (1993).

   I.      This Court lacks jurisdiction because Abrego Garcia is not in United States
           custody.

        Though Plaintiffs bring four claims in addition to a 28 U.S.C. § 2241 habeas claim, all

Plaintiffs’ claims challenge Abrego Garcia’s confinement in El Salvador. Compl. ¶ 75


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(“Defendants’ violation of law . . . is causing Plaintiff Abrego Garcia irreparable harm with each

day that he spends . . . detained in CECOT.” (emphasis added)); see also id. ¶¶ 81, 87, 93, 98.

Because Plaintiffs make a core habeas claim, they must bring it exclusively in habeas. But suit is

proper only against the immediate “custodian” (the Warden of CECOT) and in the jurisdiction

where Abrego Garcia is confined (El Salvador). Plaintiffs admit that Abrego Garcia “is being held

in custody by the Government of El Salvador.” Id. ¶ 98. Therefore, this Court lacks jurisdiction to

hear Plaintiffs’ claims and should dismiss them.

       Habeas corpus “is the appropriate remedy to ascertain . . . whether any person is rightfully

in confinement or not.” DHS v. Thuraissigiam, 591 U.S. 103, 117 (2020) (quoting 3 Joseph Story,

Commentaries on the Constitution of the United States § 1333, p.206 (1833)). 28 U.S.C. § 2241

applies to those held “in custody under or by color of the authority of the United States.” 28 U.S.C.

§ 2241(c)(1); see also Carafas v. LaVallee, 391 U.S. 234, 238 & n.9 (1968); Smith v. Ashcroft,

295 F.3d 425, 428 (4th Cir. 2002). And a person “is held ‘in custody’ by the United States when

the United States official charged with his detention has ‘the power to produce him.’” Munaf v.

Geren, 553 U.S. 674, 686 (2008) (quoting Wales v. Whitney, 114 U.S. 564, 574 (1885)).

       Precedent confirms that core habeas claims like the ones Plaintiffs bring—claims that

challenge the authority of the Executive to exercise a power that led to the detention—must be

brought in habeas. See, e.g., Nance v. Ward, 597 U.S. 159, 167 (2022) (“[A]n inmate must proceed

in habeas when the relief he seeks would ‘necessarily imply the invalidity of his conviction or

sentence.” (quoting Heck v. Humphrey, 512 U.S. 477, 480 (1994))); Preiser v. Rodriguez, 411 U.S.

475, 489 (1973) (answering in the affirmative the question “whether the specific federal habeas

corpus statute, explicitly and historically designed to provide the means for a state prisoner to

attack the validity of his confinement, must be understood to be the exclusive remedy available”



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despite the broad language of 42 U.S.C. § 1983); Plyler v. Moore, 129 F.3d 728, 733 (4th Cir.

1997) (explaining that if “an action [i]s one challenging the legality of physical confinement . . .

the only proper avenue for relief was a petition for a writ of habeas corpus”).

       Here, Plaintiffs seek review of the legality of the Executive’s restraint of and removal of

Abrego Garcia to El Salvador, leading to his present detention there. Compl. ¶ 63 (alleging

Defendants “decided to deport Plaintiff Abrego Garcia without following the law”). Plaintiffs

make clear that the ultimate relief they seek is Abrego Garcia’s return to the United States. Id. ¶¶

76–77, 82–83, 88–89, 94–95 (alleging irreparable harm from separation from his family and

asking, “the Court to immediately order Defendants to take all steps reasonably available to them,

proportionate to the gravity of the ongoing harm, to return Plaintiff Abrego Garcia to the United

States”). Plaintiffs also bring a claim under 28 U.S.C. § 2241, in addition to four other claims

seeking the same relief, acknowledging that habeas is the appropriate vehicle to obtain the relief

they seek. Id. ¶¶ 96–99.

       Because Plaintiffs seek Abrego Garcia’s release from allegedly unlawful detention on the

grounds that it was effected illegally, they make a core habeas claim and must bring it exclusively

in habeas. But there is no jurisdiction in habeas. Plaintiffs admit that Abrego Garcia “is being held

in custody by the Government of El Salvador.” Id. ¶ 98. And they acknowledge that Defendants

do not have the power to produce him. Id. ¶ 99 (asking the Court to order Defendants to “request

that the Government of El Salvador release Plaintiff” to Defendants’ custody (emphasis added)).

Despite their allegations that “the Government of El Salvador is detaining Plaintiff Abrego Garcia

at the direct request . . . and financial compensation of Defendants,” id. ¶ 98, Plaintiffs do not

assert that the United States can exercise its will over a foreign sovereign. The most they ask for

is that this Court order the United States to “request” his release. See, e.g., id. ¶ 99. This is not



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“custody” to which the great writ may run. See 28 U.S.C. § 2243 (“The writ… shall be directed to

the person having custody of the person detained.”). This Court therefore lacks jurisdiction.

       And even if the writ were to run to Abrego Garcia’s custody in El Salvador, the fact remains

that the writ acts not on the detainee but the custodian. Id. §§ 2242–43. Thus, a custodian with the

power to produce Abrego Garcia must be physically within the jurisdiction of this Court for this

Court to exercise jurisdiction in habeas. Rumsfeld v. Padilla, 542 U.S. 426, 435 (2004). But the

only Defendant alleged to be within the physical jurisdiction of this Court is Defendant Nikita

Baker. Compl. ¶¶ 3, 10. And no allegation is made that Defendant Baker, the Baltimore Field

Office Director for ICE, has the power to produce Abrego Garcia to this Court. See id. ¶¶ 3, 10,

49, 63 (containing the only allegations in the Complaint about Defendant Baker individually).

Plaintiff has therefore failed to plead a viable habeas claim.

       This Court previously rejected the application of Munaf to this context because “Abrego

Garcia is not being held for crimes committed . . . anywhere” and “[h]is claims do not implicate

any question of competing sovereign interests.” Abrego Garcia v. Noem, No. 8:25-cv-00951-PX,

2025 WL 1014261, at *5 (D. Md. Apr. 6, 2025). But the point remains that “[t]he jurisdiction of

the nation within its own territory is necessarily exclusive and absolute.” Munaf, 553 U.S. at 694

(quoting Schooner Exchange v. McFaddon, 7 Cranch 116, 136 (1812)). Plaintiffs themselves do

not dispute this. Instead, they admit that their claims implicate “competing sovereign interests,”

since they acknowledge that Abrego Garcia is in the physical custody of El Salvador, Compl. ¶ 98,

and ask the Court to “order Defendants to immediately request that the Government of El Salvador

release Plaintiff Abrego Garcia,” id. ¶ 99, and even recognize that “the Government of El

Salvador” may “decline such request,” id. at 21 (emphasis added).




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    II.      Plaintiffs cannot show redressability.

          Plaintiffs bear the burden of establishing that they have suffered a concrete and

particularized injury in fact, that is fairly traceable to Defendants’ conduct, and is “likely, as

opposed to merely speculative[ly]” redressable “by a favorable decision.” Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560–61 (1992). Plaintiffs failed to satisfy their burden on redressability.

That failure means this Court lacks jurisdiction because the “irreducible constitutional minimum”

of standing to sue in federal court is not met. Id. at 560. When “[t]he existence of one or more of

the essential elements of standing ‘depends on the unfettered choices made by independent actors

not before the courts and whose exercise of broad and legitimate discretion the courts cannot

presume either to control or to predict,’ . . . it becomes the burden of the plaintiff to adduce facts

showing that those choices have been or will be made in such manner as to . . . permit redressability

of injury.” Id. at 562 (quoting ASARCO Inc. v. Kadish, 490 U.S. 605, 615 (1989) (opinion of

Kennedy, J.)). Here, “Plaintiffs’ injury can only be redressed by [a] foreign nation[] not before the

court.” Lin v. United States, 690 F. App’x 7, 8–9 (D.C. Cir. 2017) (collecting cases) (dismissing claim

for declaratory relief for lack of redressability because plaintiffs did not show “that a court ruling

invalidating [certain] decrees would likely cause [other nations] to provide relief”).

          Plaintiff Abrego Garcia asserts that he was injured when Defendants removed him from

the United States and that he suffers harm each day he spends outside the United States. Compl.

¶¶ 75–76. Plaintiffs request that this Court declare Defendants’ actions violated federal law and

the Fifth Amendment; order “Defendants to immediately request that the Government of El

Salvador release . . . Abrego Garcia”; and, “[s]hould the government of El Salvador decline such

request,” to order Defendants “to take all steps reasonably available to them . . . to return . . .

Abrego Garcia to the United States.” Compl. at 21 (emphasis added). But none of Plaintiffs’

requested relief would redress Plaintiffs’ injury because Abrego Garcia is in the custody of El

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Salvador—a separate sovereign, not before this Court. See supra I; Compl. ¶ 98.

       Defendants’ point is simple: even if they make every effort to facilitate his return (as they

are doing), the success of those efforts depends on the “choices of [an] independent actor[ ] not

before [this] [C]ourt.” See Lujan, 504 U.S. at 562. For that reason, it is speculative that directing

Defendants to facilitate Abrego Garcia’s return would redress Plaintiffs’ injury.

       This Court previously rejected this argument because “Defendants can and do return

wrongfully removed migrants as a matter of course.” Abrego Garcia, 2025 WL 1014261, at *6 (D.

Md. Apr. 6, 2025) (citing Lopez-Sorto v. Garland, 103 F.4th 242, 248–53 (4th Cir. 2024); Nken v.

Holder, 556 U.S. 418, 436 (2009) (noting that aliens “who prevail” on petitions for review of

removal orders “can be afforded effective relief by facilitation of their return”)). But Plaintiffs

acknowledge that Defendants have ceded control of Abrego Garcia to El Salvador, Compl. ¶ 98

(“Plaintiff Abrego Garcia is being held in custody by the Government of El Salvador . . . .”), and

it is their burden to prove jurisdiction exists. Moreover, Lopez-Sorto concerned an ICE directive

that describes a policy for “facilitating” the return of certain lawfully removed aliens whose

petitions for review are granted after removal. 103 F.4th at 249. The directive defines “facilitation”

as “engag[ing] in activities which allow a lawfully removed alien to travel to the United States

(such as by issuing a Boarding Letter to permit commercial air travel) and, if warranted, parol[ing]

the alien into the United States upon his or her arrival at a U.S. port of entry”—actions entirely

within the United States’ control that amount to removing domestic barriers. Id. While the Fourth

Circuit did not define with exacting specificity what “facilitation” requires in the context of this

Court’s injunction, it rejected the argument that it requires only removing domestic barriers.

Abrego Garcia, 2025 WL 1135112, at *1. Lopez-Orto therefore has no bearing on whether the

relief contemplated in this case is too speculative to support standing because in this case Abrego



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Garcia’s ability to secure the relief he seeks depends on the actions of a foreign sovereign.

   III.      8 U.S.C. § 1252(g) deprives this Court of jurisdiction.

          Finally, this Court lacks jurisdiction to review Defendants’ removal of Abrego Garcia

under 8 U.S.C. § 1252(g). Section 1252(g) states that “no court shall have jurisdiction to hear any

cause or claim by or on behalf of any alien arising from the decision or action by the Attorney

General to commence proceedings, adjudicate cases, or execute removal orders against any alien.”

8 U.S.C. § 1252(g) (emphasis added). Interpreting § 1252(g), the Supreme Court has held that the

provision’s plain language bars any claim related to conduct falling within one of these three

events—commencing proceedings, adjudicating cases, or executing removal orders. See Reno v.

American-Arab Anti-Discrimination Comm., 525 U.S. 471, 482 (1999). While § 1252(g) “does not

sweep broadly,” the provision’s “narrow sweep is firm,” and this Court cannot “entertain

challenges to the enumerated executive branch decisions or actions.” E.F.L. v. Prim, 986 F.3d 959,

964 (7th Cir. 2021). It “precludes judicial review of ‘any’ challenge to ‘the decision or action by

[DHS] to . . . execute removal orders,’” which “includes challenges to DHS’s ‘legal authority’ to

do so.” E.F.L., 986 F.3d at 965 (alteration in original) (emphasis added); see also Camarena v.

Director, ICE, 988 F.3d 1268, 1273–74 (11th Cir. 2021) (“No matter how [the plaintiffs]

characterize their claims, they amount to an attack on the government’s execution of their removal

orders. That runs afoul of § 1252(g): If we held otherwise, any petitioner could frame his or her

claim as an attack on the government’s authority to execute a removal order rather than its

execution of a removal order.”).

          Here, Plaintiffs’ claims—that Abrego Garcia’s removal order was executed “without

following the law,” Compl. ¶ 63—plainly “aris[e] from” the government’s “decision or action” to

“execute” his removal order. 8 U.S.C. § 1252(g). They each raise a challenge “by or on behalf of”

Abrego Garcia to the decision to execute his removal order. See Compl. ¶¶ 74, 79, 85, 92, 98; see
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also Mapoy v. Carroll, 185 F.3d 224, 228 (4th Cir. 1999) (where basis for claim is denial of stay

of removal and continued detention in anticipation of removal, claim arises from decision to

execute order of removal); see also Duron v. Johnson, 898 F.3d 644, 647–48 (5th Cir. 2018) (court

must look at substance of complaint to determine whether claim is “by or on behalf of” alien;

complaint of unlawful discrimination against U.S. citizen’s alien father, styled as violating U.S.

citizens’ Fifth Amendment rights, is necessarily claim on behalf of father “to be free of such

discrimination”).

       This Court previously held that § 1252(g) did not strip its jurisdiction because it could not

“credit that Defendants removed Abrego Garcia pursuant to an ‘executed removal order’ under the

INA” and because Abrego Garcia’s “claims do not seek review of any discretionary decisions,”

only a pure question of law. Abrego Garcia, 2025 WL 1014261, at *8. But Defendants removed

Abrego Garcia pursuant to a lawful removal order, whether or not he had been served a warrant

for removal. Plaintiffs themselves attached to their Complaint a copy of the order finding Abrego

Garcia removable and granting him withholding of removal to El Salvador. Compl. Ex. A, ECF

No. 1-1. The order thus authorizes his removal to any country except El Salvador. See Compl.

¶ 77; Johnson v. Guzman Chavez, 594 U.S. 523, 536 (2021) (“If an immigration judge grants an

application for withholding of removal, he prohibits DHS from removing the alien to that particular

country, not from the United States. The removal order is not vacated or otherwise side aside. It

remains in full force . . . .”). And Defendants removed him on that basis. See Compl. ¶ 45 (“As a

condition of his withholding of removal status, Plaintiff Abrego Garcia [was] required to check in

with ICE once a year.”); id. ¶ 50 (“One ICE officer . . . told Plaintiff Abrego Garcia that his ‘status

ha[d] changed.’ Within minutes, Plaintiff Abrego Garcia was handcuffed and detained . . . .”).

       Second, the Fourth Circuit has held that “§ 1252(g) does not apply to agency interpretations



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of statutes as these decisions do not fall into any of the three categories enumerated in § 1252(g).”

Bowrin v. U.S. I.N.S., 194 F.3d 483, 488 (4th Cir. 1999). But Plaintiffs’ claims seek review of

discretionary decisions. Plaintiffs challenge Abrego Garcia’s removal to El Salvador, after he was

granted withholding of removal to that country, not the validity of the removal order itself. Compl.

¶¶ 74, 79, 85, 92, 98. Plaintiffs therefore challenge Defendants’ discretionary decisions to execute

Abrego Garcia’s removal several years after the order and where to send Abrego Garcia.

See Johnson, 594 U.S. at 536 (explaining that withholding of removal “relates to where an alien

may be removed”). And Plaintiffs’ claims arising from the decision to send him to El Salvador do

not present “a pure question of law.” See Silva v. United States, 866 F.3d 938, 941 (8th Cir. 2017)

(holding that an error in executing a removal order did not present a “pure question of law”).

Because Plaintiffs’ claims all arise from the government’s execution of Abrego Garcia’s removal

order, § 1252(g) prohibits this Court from hearing them.

                                         CONCLUSION

       Because this Court lacks jurisdiction, it should dismiss Plaintiffs’ Complaint.

 Dated: May 27, 2025                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on May 27, 2025, I caused to be filed the foregoing document via CM/ECF,

which caused a copy to be served on all parties.


                                             /s/ Drew C. Ensign____________
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